

St. Elizabeth Med. Ctr. v Soults (2021 NY Slip Op 07454)





St. Elizabeth Med. Ctr. v Soults


2021 NY Slip Op 07454


Decided on December 23, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, NEMOYER, AND WINSLOW, JJ.


1112 CA 20-01241

[*1]ST. ELIZABETH MEDICAL CENTER, PLAINTIFF-APPELLANT,
vCLIFFORD B. SOULTS, M.D., DEFENDANT-RESPONDENT, AND COMPUTERSHARE TRUST COMPANY, N.A., DEFENDANT. (APPEAL NO. 1.) 






HARRIS BEACH PLLC, PITTSFORD (KYLE D. GOOCH OF COUNSEL), FOR PLAINTIFF-APPELLANT.
COHEN, COMPAGNI, BECKMAN, APPLER &amp; KNOLL, PLLC, SYRACUSE (LAURA L. SPRING OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from a judgment (denominated order) of the Supreme Court, Oneida County (Bernadette T. Clark, J.), entered September 3, 2020. The judgment, among other things, denied plaintiff's motion for summary judgment and granted the cross motion of defendant Clifford B. Soults, M.D. for summary judgment. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs for the reasons stated in the decision at Supreme Court.
Entered: December 23, 2021
Ann Dillon Flynn
Clerk of the Court








